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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


    In re Effexor XR Antitrust Litigation Master Docket No.
                                          3:11-cv-05479 (PGS/JBD)
    This Document Relates to:
    Direct Purchaser Actions


        DIRECT PURCHASER CLASS PLAINTIFFS’ UNOPPOSED
      MOTION FOR CERTIFICATION OF A SETTLEMENT CLASS,
      APPOINTMENT OF LEAD CLASS COUNSEL, PRELIMINARY
     APPROVAL OF PROPOSED SETTLEMENT, APPROVAL OF THE
         FORM AND MANNER OF NOTICE TO THE CLASS AND
          PROPOSED SCHEDULE FOR A FAIRNESS HEARING

       Direct Purchaser Class Plaintiffs hereby move, unopposed, for certification

 for purposes of settlement of a class of direct purchasers, appointment of Lead Class

 Counsel, preliminary approval of their proposed Settlement Agreement with Wyeth

 LLC, Wyeth Pharmaceuticals, Inc., Wyeth-Whitehall Pharmaceuticals LLC, and

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 Wyeth Pharmaceuticals Company (collectively or individually, “Wyeth”), approval

 of the form and manner of notice to the settlement class, preliminary approval of the

 proposed Plan of Allocation, appointment of the Notice and Claims Administrator,

 appointment of the Escrow Agent, and a proposed schedule for a Fairness Hearing.

       Direct Purchaser Class Plaintiffs submit a Proposed Order herewith.

 Dated: April 9, 2024                         Respectfully submitted,
                                              /s/ Peter S. Pearlman
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       Interim Executive Committee for the Direct Purchaser Class Plaintiffs




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